                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                     DANVILLE DIVISION

  UNITED STATES OF AMERICA                         )
                                                   )
        v.                                         )       Case No.: 4:18-CR-00011-MFU-RSB
                                                   )
  SHABBA LARUN CHANDLER,                           )
                                                   )
        Defendant                                  )

               MOTION TO EXCLUDE FIREARM IDENTIFICATION EVIDENCE

             COMES NOW, Defendant Shabba Chandler, by and through his counsel of record,

   and pursuant to Federal Rules of Evidence Rules 104(a), 402, 403, 702, 703, and the Fifth,

   Sixth, and Eighth Amendments to the United States Constitution, and respectfully submits this

   Motion to Exclude Firearm Identification Evidence.

             The grounds for this motion are: (1) there is no reliable scientific basis for this

   proposed testimony, and thus the testimony is inadmissible under Daubert v. Merrell Dow

   Pharmaceuticals, Inc., 509 U.S. 579 (1993) and Kumho Tire Co. v. Carmichael, 526 U.S.

   137, 119 S.Ct. 1167, 143 L.Ed.2d 238 (1999); (2) the testimony is inadmissible Rule 702 of

   the Federal Rules of Evidence in that (a) the testimony is not based upon sufficient facts or

   data, (b) the testimony is not the product of reliable principles and methods, and (c) the

   firearms examiner who performed the bullet comparison in this case has not applied the

   principles and methods reliably to the facts of the case; (3) the subjective conclusion,

   unsupported by statistical analysis, that a particular bullet was fired from a particular

   weapon is so weak as to lack any probative value; and (4) any weak probative value of the

   proposed testimony is also substantially outweighed by the danger of unfair prejudice,

   confusion of the issues, and misleading the jury, and by considerations of undue delay,


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   waste of time, and needless presentation of cumulative evidence and is thus inadmissible

   under Rule 403 of the Federal Rules of Evidence and the due process and fair trial

   provisions of the Constitution. For the above reasons, the testimony should be excluded or

   the Court should issue a limiting instruction setting forth the parameters of said testimony.

          The reasons for the Defendant’s Motion are stated more fully in the accompanying

   memorandum in support.

                                                       Respectfully submitted,

                                                       SHABBA LARUN CHANDLER

                                                       By: /s/      Aaron Balla Houchens___
                                                                 Of Counsel




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 31st of July 2019, I electronically filed the foregoing with the

  Clerk of the Court using the CM/ECF system, and the foregoing was electronically transmitted

  through the CM/ECF system to the following CM/ECF participants:

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                                                                /s/    Aaron Balla Houchens___




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